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                  Nos. 22-50314 & 22-50316

           United States Court of Appeals
                   FOR THE NINTH CIRCUIT


                UNITED STATES OF AMERICA,
                        PLAINTIFF-APPELLEE

                                v.
           JESUS PEREZ-GARCIA & JOHN FENCL,
                     DEFENDANTS-APPELLANTS



      On Appeal from the United States District Court
          for the Southern District of California
             22CR1581-GPC; 21CR3101-JLS


  GOVERNMENT’S RESPONSE TO PETITION FOR VACATUR,
        PANEL REHEARING, OR REHEARING EN BANC



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                      Nos. 22-50314 & 22-50316

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                    UNITED STATES OF AMERICA,
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                                    v.
               JESUS PEREZ-GARCIA & JOHN FENCL,
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      On Appeal from the United States District Court for the
                 Southern District of California
                22CR1581-GPC; 21CR3101-JLS


                            INTRODUCTION

  The Bail Reform Act allows courts to bar gun possession to those

on pretrial release “only if it is among the least restrictive ways to

‘reasonably assure . . . the safety of any other person and the com-

munity.’” United States v. Perez-Garcia, 96 F.4th 1166, 1189 (9th

Cir. 2024) (quoting 18 U.S.C. § 3142(c)(1)(B)). The “firearm condi-
tion is thus specifically designed to disarm those whose possession

of firearms would pose an unusual danger to the community.” Id.

Fencl and Perez say the condition is unconstitutional. If they are

right, that means courts must let those under felony indictment

have guns even when doing so will endanger the community. And,

of course, if the Second Amendment protects that, it is hard to


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fathom any gun law that is valid. This Court, after analyzing his-

torical gun restrictions, upheld the gun condition, thus rejecting

those perilous conclusions.

   Fencl and Perez seek rehearing. They note that “en banc merits
review is off the table” since the “case is long moot.” PFR 3, 12. But

in their view, since the case was also moot before the panel issued

its opinion, the Court should rehear it en banc and decide whether
to grant what they call “equitable vacatur.” PFR 3. The Court

should deny that request. As the panel explained, it affirmed the

gun conditions while Fencl and Perez were still subject to them. Pe-
rez-Garcia, 96 F.4th at 1173. True, it elucidated that decision in an

opinion after Fencl was convicted and Perez absconded. Id. at 1172.

But that opinion “merely explain[ed] the basis for [its] decision and

d[id] not take further action on the merits.” Id. at 1173. This Court

is “not the only appellate court to follow this practice.” Id. (collecting

cases). Indeed, the “practice of bifurcating an expedited order with
its reasoning is common, often necessary, and constitutional.” Id.

   Beyond that, a desire to have this Court debate whether equita-

ble concerns warrant vacating the panel opinion is not enough to

show the sort of extraordinary circumstances warranting the disfa-

vored remedy of en banc review. Fencl and Perez would be hard-

pressed to show otherwise, as this Court routinely declines en banc



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review when, as here, “it would not alter the outcome” of a case.

United States v. Torres, 869 F.3d 1089, 1107–08 (9th Cir. 2017) (col-

lecting cases). That is especially true since, as the panel noted, eq-

uitable concerns in fact weigh decisively against the notion that it
should not have explained its dispositive order. See Perez-Garcia,

96 F.4th at 1174.

  Fencl and Perez do not claim the opinion will harm them in any
way. Instead, they raise far-flung issues, like concerns over whether

courts impose the gun condition without individualized findings in

cases other than theirs, PFR 16–17, or suggestions that the panel
did something improper based on the opinion’s timing, breadth, and

citations, PFR 2–7. They say the panel “transgressed” and “did not

live up to” various “bedrock principles” and even raise the specter

that it conspired to insulate itself from en banc review (though they

allow that this motive “may not have motivated this panel in any

way”). PFR 3, 8, 11–12 (emphasis added). But despite the intima-
tions, Fencl and Perez fail to show that the panel acted improperly.

Second Amendment challenges require “extensive and complicated

historical analysis.” Perez-Garcia, 96 F.4th at 1174. The panel here

quickly issued a dispositive order answering the immediate ques-

tion before it and then followed that order with its reasoned expla-




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nation and historical analysis. That was not improper, and cer-

tainly not so extraordinary that it requires en banc review to con-

sider vacatur. The Court should deny the petition.

                              STATEMENT

  In 2021, during a search of Fencl’s house, “officers found more

than 100 firearms . . . , including ‘ghost guns,’ thousands of rounds

of ammunition, armor-piercing bullets, incendiary rounds, and
even a tear-gas grenade.” Id. at 1190. He “had previously been con-

victed for unlawful possession of a concealed gun without a license

and arrested for possession of a privately made ghost gun.” Id. The
government charged Fencl with possessing unregistered short-bar-

reled rifles and silencers under 26 U.S.C. § 5861(d). Id. at 1171.

  Perez “was apprehended in a vehicle containing approximately
eleven kilograms of methamphetamine and half a kilogram of fen-

tanyl when it arrived at the port of entry.” Id. at 1190. The govern-

ment charged him with importing meth and fentanyl in violation of

21 U.S.C. §§ 952 and 960. Id. at 1171.

  After Fencl and Perez were charged, “two magistrate judges re-

leased [them] pending their trials but subjected them to a condition
of pretrial release that temporarily barred them from possessing

firearms pending trial.” Id. The judges did so under a law authoriz-




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ing pretrial-release gun conditions—18 U.S.C § 3142 (c)(1)(B)—af-

ter they “concluded that the firearm condition was the least restric-

tive way to assure the safety of the community and the defendants’

appearances in court.” Id. “Two district court judges agreed.” Id.
  In December 2022, Fencl and Perez initiated an expedited ap-

peal, arguing that the gun condition violated the Second Amend-

ment and citing Bruen. Id. at 1171–72. The case was briefed and
argued in just over a month. In its brief, the government argued,

among other things, that the pretrial-release condition was valid

based on historical pretrial-detention laws and historical laws ad-
dressing those posing a danger. ECF No. 14 at 11–17. In January

2023, this Court issued an order stating, “We affirm the district

court’s orders. An opinion explaining this disposition will follow.”

Perez-Garcia, 96 F.4th at 1172. Before the court issued that opinion,

Fencl was convicted at trial and Perez “repeatedly fail[ed] to appear

for hearings,” prompting the court to issue an arrest warrant. Id. 1

Both defendants moved to dismiss their appeals as moot since they

were no longer on pretrial release. See id.



1 In March 2024, after the court issued the opinion in this case, the

district court sentenced Fencl to six months in prison and three
years of supervised release, the first year of which he will spend in
home detention. See Judgment, United States v. Fencl, 21CR3101-
JLS (ECF No. 178). Perez remains at large.

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   The panel held that the case was not moot since it had “already

heard and conclusively resolved the merits of Appellants’ appeal in

a dispositive order.” Id. at 1173. “By publishing the reasoning un-

derlying our prior order,” the panel explained, “we merely explain
the basis for our decision and do not take further action on the mer-

its of Appellants’ claims. We are not the only appellate court to fol-

low this practice.” Id. (collecting cases). Indeed, “this appellate prac-
tice of bifurcating an expedited order with its reasoning is common,

often necessary, and constitutional.” Id. The panel also noted that

“equity” weighed against dismissing, as doing so would “deprive the
legal community” of a reasoned opinion on a “common, statutorily

authorized practice;” would “incentivize parties to strategically pre-

vent the publication of a decision” when, as here, the Court an-

nounces that the decision will be unfavorable to the movant; and

“would likely force later panels to duplicate our efforts while con-

fronting the exact same issues.” Id. at 1174.
   On the merits, the panel held that the gun condition was “justi-

fied by our nation’s history of disarming criminal defendants facing

serious charges pending trial.” Id. at 1182. It explained that “the

combination of separate but related founding era practices supports

this conclusion: (1) most serious crimes were eligible for capital

charges; (2) the government had the power to detain, and usually



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did detain, defendants indicted on capital charges; and (3) once de-

tained, criminal defendants were completely disarmed.” Id. The

panel outlined numerous founding-era sources illustrating those

points. See id. at 1182–86.
  As a “separate ground,” the panel held that the “firearm condi-

tion is further justified by . . . a lengthy and extensive Anglo-Amer-

ican tradition of disarming individuals who are not law-abiding, re-
sponsible citizens.” Id. at 1186. “In particular,” the panel explained,

“the historical record reflects that legislatures have long disarmed

groups or individuals whose possession of firearms would pose an
unusual danger, beyond the ordinary citizen, to themselves or oth-

ers.” Id. In reaching that conclusion, the panel catalogued numer-

ous founding-era sources, including English laws, American laws

restricting gun possession by various groups, American laws allow-

ing disarmament for certain types of conduct, and proposals from

state ratifying conventions. See id. at 1186–91.
  Fencl and Perez now seek en banc review. They note that, “be-

cause the opinion issued after the case mooted, en banc merits re-

view is off the table.” PFR 12. Instead, they seek en banc review to

address “equitable vacatur.” PFR 3. If the Court finds that the case

is not moot, then they seek rehearing on the merits. PFR 12–13.




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                                DISCUSSION

     En banc hearings are “not favored.” Fed. R. App. P. 35(a). They

are “the exception, not the rule,” and “are convened only when ex-

traordinary circumstances exist.” United States v. American-For-
eign S.S. Corp., 363 U.S. 685, 689 (1960). That occurs when: “(1) en

banc consideration is necessary to secure or maintain uniformity of

the court’s decisions; or (2) the proceeding involves a question of
exceptional importance.” Fed. R. App. P. 35(a). Fencl and Perez

have not met those standards.

A.     The Court should decline to review for “equitable vacatur.”
     Review here would entail considering whether to grant a remedy

(vacatur) that may not be available, will not alter the result in this

case, and will not affect Fencl and Perez in any way. Beyond all of

that, equitable considerations simply do not support vacatur here.

The Court should thus deny en banc review.
       1.    The case is now moot and en banc review will thus have
             no bearing on its result or on Fencl and Perez.
     Fencl and Perez say this case was moot once Fencl was convicted

and Perez absconded. PFR 9–11. The panel appeared to agree but

disagreed that it could not issue an opinion explaining its earlier




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order. See Perez-Garcia, 96 F.4th at 1172–74. Thus, there is no dis-

pute that the case is now moot. 2

  That matters, as this Court routinely finds that the sort of ex-

traordinary circumstances warranting en banc review are absent

when review “would not alter the outcome” of a case. Torres, 869

F.3d at 1107–08 (collecting cases). True, those cases involved differ-

ent challenges, like merits challenges when any error would have
been harmless or challenges to a test even when another test would

have yielded the same result. See id. But the rationale—that this

Court generally declines en banc review that would not alter the
outcome of a case “even where the orderly development of [its] case

law might benefit,” id. (citation omitted)—holds true here.

  The case Fencl and Perez cite is consistent with that conclusion.
It addressed a case in which a judge sua sponte called for a vote on

whether to hear a case en banc. United States v. Payton, 593 F.3d

881, 883 (9th Cir. 2010). After the parties briefed the issue, the case

became moot, and the same judge asked the panel to vacate it opin-

ion. Id. The panel, after weighing equitable concerns, declined. See

2 The government raised the possibility that the case was not moot

in response to Fencl and Perez’s motion to dismiss for mootness, see
ECF No. 26 at 4, but the panel did not accept that position. And
that position is more tenuous now since Fencl was still subject to
the gun condition at the time of the government’s response (albeit
on post-trial release) but is not subject to it now. See supra n.1.

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id. at 883–86. It then noted, parenthetically, that the judge could

still “seek an en banc rehearing for the purpose of vacating our de-

cision.” Id. at 886. The judge did so, but the Court declined en banc

review. Id. And given those conclusions, the Court did not even need
to address a more fundamental concern: whether vacatur is appro-

priate in criminal cases at all, and if so, when. See United States v.

Tapia-Marquez, 361 F.3d 535, 537–38 (9th Cir. 2004) (“whether the
vacatur rule . . . even applies in criminal cases” “is an open ques-

tion”); United States v. Flute, 951 F.3d 908, 909 (8th Cir. 2020) (sim-

ilar). Thus, given that vacatur would not change the outcome of the
case, would not affect Fencl or Perez, and may not apply in criminal

cases, this Court should decline en banc review here.
     2.    Other equitable concerns favor denying rehearing.
  The panel explained why equitable concerns weighed against de-

clining to provide an explanation for its order. Those same concerns

weigh against vacatur. First, vacatur “would deprive the legal com-

munity as a whole of ‘the benefit of an appellate court decision that

adjudicated properly presented questions concerning . . . specific

constitutional rights.” Perez-Garcia, 96 F.4th at 1174 (quoting Arm-

ster v. U.S. Dist. Ct., 806 F.2d 1347, 1355 (9th Cir. 1982)). In this

case, those questions implicate a “common, statutorily authorized

practice,” making their resolution all the more important.



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  Second, vacatur “could incentivize parties to strategically pre-

vent the publication of a decision” by seeking vacatur when, as here,

they have already seen “‘the proverbial writing on the wall’ in [the

Court’s] previously filed expedited order.” Id. (quoting Naruto v.
Slater, 888 F.3d 418, 421 n.3 (9th Cir. 2018)). That result would

“us[e] considerable public resources” and “would not serve the in-

terests of justice or judicial economy.” Id.
  Finally, vacatur “would not be pragmatic because it would likely

force later panels to duplicate our efforts while confronting the ex-

act same issues.” Id. And since the case implicates “extensive and
complicated historical analysis,” cases raises “challenges to tempo-

rary pretrial conditions could resolve before an appellate court has

the opportunity to issue a thorough opinion.” Id. Thus, vacating the

opinion “might preclude efficient judicial review of a likely recur-

ring constitutional challenge.” Id.

  Fencl and Perez’s responses are unconvincing. For example, they
say avoiding waste and duplicative efforts are not valid concerns.

PFR 7. But the case they cite as support held only that certain class-

actions rules for mootness did not apply to non-class actions. See

United States v. Sanchez-Gomez, 584 U.S. 381, 387 (2018). It said

nothing about proper equitable concerns for equitable vacatur.

Fencl and Perez also suggest that the Court could have written the



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opinion faster. PFR 7–8. But the cases they cite as examples in-

volved months of briefing and ample pre-argument time (and, in

Range, full panel proceedings). Here, because Fencl and Perez filed

a bond appeal seeking an immediate ruling on conditions of release,
the two cases were docketed, briefed, and argued in just over a

month. So it is no surprise that the panel took longer to write the

opinion after argument than in those cases involving far more lead
time. In short, equitable concerns support denying review here, and

Fencl and Perez offer no convincing response.
     3.    The concerns the petition raises are illusory.
  Fencl and Perez stress that the panel issued a broad alternative

holding, PFR 4–5, used citations that appear in the Supreme Court

briefing in Rahimi (a case addressing gun bans for those under do-
mestic-violence restraining orders) but not the briefing here, PFR

5–6, and did not wait for the Rahimi decision, PFR 6–7. But that is

all irrelevant. It is “inappropriate . . . to vacate mooted cases, in

which we have no constitutional power to decide the merits, on the

basis of assumptions about the merits.” U.S. Bancorp Mortg. Co. v.

Bonner Mall P’ship, 513 U.S. 18, 27 (1994); see also id. at 28 (“We

again assert the inappropriateness of disposing of cases, whose

merits are beyond judicial power to consider, on the basis of judicial

estimates regarding their merits.”). So it must also be inappropriate



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to vacate based on more tangential concerns that go not to the mer-

its of a decision but its breadth, citations, and timing.

  Still, the critiques are odd. “[A]lternative holdings are a common

practice that prevents the overconsumption of adjudicative re-
sources.” Bahr v. Regan, 6 F.4th 1059, 1072 n.12 (9th Cir. 2021)

(quoting Container Stevedoring Co. v. Dir., Office of Workers Comp.

Programs, 935 F.2d 1544, 1549 n.5 (9th Cir. 1991)). Here, consistent
with that practice, the Court affirmed the gun condition based on

two rationales. See Perez-Garcia, 96 F.4th at 1182–86 (first ra-

tionale); id. at 1186–91 (second rationale). Both rationales were
briefed and argued by the parties, and the panel simply agreed with

the government in both instances. Fencl and Perez call that ap-

proach “overreach,” PFR 3, but this Court calls it prudence.

  As for citations, “when an issue or claim is properly before the

court, the court is not limited to the particular legal theories ad-

vanced by the parties, but rather retains the independent power to
identify and apply the proper construction of governing law.” Does

v. Wasden, 982 F.3d 784, 793 (9th Cir. 2020) (quoting Kamen v.

Kemper Fin. Servs., Inc., 500 U.S. 90, 99 (1991)). So a court cer-

tainly is not limited to the universe of citations offered in support

of a legal theory in short briefs filed in an expedited appeal. Thus,

again, while Fencl and Perez suggest that the panel did something



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wrong by citing authorities not in the briefs, this Court and the Su-

preme Court have expressly blessed the practice. 3

   Third, as a judge on this Court noted just last month in a Second

Amendment case, “it is not our role as circuit judges to anticipate
how the Supreme Court will decide future cases.” United States v.

Duarte, --- F.4th ----, 2024 WL 2068016, at *28 (9th Cir. 2024) (M.

Smith, J., dissenting); see also Tekoh v. Cnty. of Los Angeles, 997
F.3d 1260, 1263 (9th Cir. 2021) (Miller, J., concurring in the denial

of rehearing en banc) (“Our duty is to follow what the Supreme

Court has done, not forecast what it might do.”). The Duarte major-
ity, by deciding the case before Rahimi, no doubt agreed. And other

gun cases decided after the cert filing and even the cert grant in



3 What’s more, Fencl and Perez critique only non-case citations in

one section of the opinion. They say 18 of the “about 20” sources in
that section “appear in the Rahimi materials” but “not . . . else-
where.” PFR 5–6. But they give only three examples that can, in
fact, be found in other briefs, articles, and cases. See, e.g., United
States v. Berry, --- F.Supp.3d ----, 2024 WL 1141720, at *13–14 (N.D.
Ohio 2024) (citing same three sources); United States v. DeBorba, -
-- F.Supp.3d ----, 2024 WL 342546, at *8 (W.D. Wash. 2024) (citing
two sources). And they fail to note that most of the panel’s citations
(even those not in the briefs): (1) address groups of laws that are
cited in the briefs (e.g., disloyalty laws, affray laws, surety laws);
(2) are discussed in articles cited in the briefs (e.g., the Greenlee
article); and/or (3) are cited in Bruen, Heller, or both (e.g., the Eng-
lish Bill of Rights, convention proposals). Compare Perez-Garcia, 96
F.4th at 1186–91 with ECF No. 14 at 15–20.

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Rahimi apparently agreed too. See Duncan v. Bonta, 83 F.4th 803,
806 (9th Cir. 2023) (en banc) (holding that ban on high-capacity

magazines was likely to survive Second Amendment challenge);

United States v. Alaniz, 69 F.4th 1124, 1129–30 (9th Cir. 2023) (up-
holding sentence enhancements for carrying guns during drug

crimes). Thus, the panel’s approach here was not “perplexing,” PFR

5, but commonplace.
   Finally, Fencl and Perez suggest that the panel may have pur-

posefully issued its initial order to “lock in its own jurisdiction” and

then waited to issue its opinion until after the case became moot to
eliminate the possibility of en banc review. PFR 11–12. They say

that procedure offers a “blueprint” for future members of this Court

to “go big” and issue decisions they might not otherwise write. Id.
Whatever Fencl and Perez mean by that, the record in this case is

clear that the panel issued its order because it was asked to decide

an expedited pretrial-release appeal on a short timeline, and that
it then took the time to articulate the “extensive and complicated

historical analysis” needed to resolve the constitutional question at

issue. Perez-Garcia, 96 F.4th at 1174. The imagined threat of mal-
feasance by a hypothetical member of this Court, in some future

case, is not a valid reason to vacate the panel decision here, let alone

to grant en banc review.



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     4.    The panel was not barred from issuing its opinion.
  As the panel explained, “[t]here is a significant difference be-

tween a request to dismiss a case or proceeding for mootness prior

to the time an appellate court has rendered its decision on the mer-

its and a request made after that time.” Id. at 1172–73 (quoting

Armster, 806 F.2d at 1355). Only the former implicates jurisdiction.

Id. at 1173. Here, the Court issued its decision on the merits while

the gun conditions were still in place. Id. And while it issued its

opinion later, that opinion “merely explain[ed] the basis for our de-

cision and d[id] not take further action on the merits.” Id. This
Court is “not the only appellate court to follow this practice.” Id.

(collecting cases). Indeed, as the Second Circuit noted, even the Su-

preme Court “issu[ed] an opinion to explain a prior order in a ha-
beas case that had become moot several months before the opinion

issued.” Hassoun v. Searls, 976 F.3d 121, 130 (2d Cir. 2020) (citing

Ex parte Quirin, 317 U.S. 1 (1942)). In sum, the “practice of bifur-
cating an expedited order with its reasoning is common, often nec-

essary, and constitutional.” Perez-Garcia, 96 F.4th at 1173.

  Fencl and Perez do not address those cases. Instead, they say the

issue is governed by Environmental Protection Information Center,

Inc. v. Pacific Lumber Co., 257 F.3d 1071 (9th Cir. 2001) (EPIC).

PFR 9–11. But the panel addressed that case. See Perez-Garcia, 96



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F.4th at 1173 n.6. In it, a court issued a preliminary injunction in
1998, the case became moot in February 1999, the court issued an

order with “findings of fact and conclusions of law” that “adjudi-

cated the issues raised by the parties” in March 1999, and the court
issued an order dismissing the case for mootness and offering “clar-

ification” of its prior order in May 1999. EPIC, 257 F.3d at 1073–

74. This Court held that the prevailing party had standing to chal-
lenge the March and May orders and remanded to the district court

to vacate the orders. Id. at 1075–75. But as the panel here noted,

EPIC “said nothing about an appellate court’s discretionary author-
ity after rendering a decision on the merits but before a mandate

issues.” Perez-Garcia, 96 F.4th at 1173 n.6. Nor could it, as that fact

pattern was not presented.
  Still, even if EPIC’s applicability and consistency with the prec-

edent the panel cited is debatable, for the reasons discussed above,

it does not warrant the extreme remedy of en banc review. Indeed,
in one case, the Supreme Court denied rehearing to decide whether

to vacate even after it learned that the appellant had died before

any decision on the merits—an example that is arguably “even more
extreme” than the issue here. Payton, 593 F.3d at 885 n.3 (citing

Robinson v. California, 371 U.S. 905 (1962)). The Court should like-

wise decline further review here.



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B.     The petition’s merits points are irrelevant and unconvincing.
     Fencl and Perez request en banc merits review if the Court finds

that the case is not moot. PFR 12–13. But there is no dispute that

the case is moot, and the merits analysis is not relevant to whether
to grant en banc review on the issue of vacatur. See U.S. Bancorp

Mortg. Co., 513 U.S. at 27–28. And as they note, there “is not space

in this filing for detailed” analysis of the issues they raise, and those
issues have “been extensively briefed in other cases” in any event.

PFR 13. Thus, in short, there is no reason to grapple with those

admittedly irrelevant and extensively briefed issues here.
     Still, nothing in the decision warrants en banc review. The panel

thoroughly analyzed the history relating to disarming those facing

criminal charges and those posing unique dangers and held that
those analogues justified the law here. See Perez-Garcia, 96 F.4th

at 1182–91. Fencl and Perez raise various points but in essence say

the panel drew analogies that were too broad, too vague, or alto-
gether inapt. PFR 13–20. But the panel addressed and rejected sim-

ilar arguments. See Perez-Garcia, 96 F.4th at 1185–86, 1191. More

broadly, Fencl and Perez’s critiques appear to rest on the assump-
tion that only a dead-on historical copy of the law at issue can jus-

tify the law, an assumption that would do away with the analogical

inquiry altogether. Under that approach, it is tough to see how any



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gun law could stand. Indeed, their position here—that a court must
allow someone under felony indictment to possess guns even if do-

ing so would endanger the community—shows as much.

                             CONCLUSION

  The Court should deny the petition for vacatur, panel rehearing,

or rehearing en banc.

  Respectfully submitted,

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